 Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 1 of 10

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    07/28/2021
                                                                                                    CT Log Number 539982125
TO:         Kim Lundy- Email
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Texas

FOR:        Wal-Mart Stores Texas, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Hajek Janice, Pltf. vs. Wal-Mart Stores Texas, LLC, Dft.
DOCUMENT(S) SERVED:                               Citation, Certificate(s), Petition
COURT/AGENCY:                                     458th Judicial District Court - Fort Bend County, TX
                                                  Case # 21DCV285327
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 09/11/2019, At
                                                  26824 FM 1093, Richmond, TX, 77406
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:                         By Certified Mail on 07/28/2021 postmarked on 07/21/2021
JURISDICTION SERVED :                             Texas
APPEARANCE OR ANSWER DUE:                         By 10:00 a.m. on Monday next following the expiration of 20 days after service
ATTORNEY(S) / SENDER(S):                          Jorge L. Gomez
                                                  Gomez Law Firm
                                                  1613 Witte Road
                                                  Houston, TX 77080
                                                  713-868-5528
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 07/28/2021, Expected Purge Date:
                                                  08/02/2021

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  1999 Bryan Street
                                                  Suite 900
                                                  Dallas, TX 75201
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / JD




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BEVERL     4:21-cv-02775 Document
       EY MCGREW WALKER
                                           1-2 Filed on 08/24/21 in TXSD Page 2 of 10
                                                                                        U.S.POSTAGE>> PITNEY BOWES
.District Clerk
 Fort Bend County, Texas
 301 Jackson Street, Room 101
 Richmond, Texas 77469
Physical: 1422 Eugene Heimann Circle
          Richmond,TX 77469
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                                                                                        0000375758 JUL 21. 2021.


OFFICIAL BUSINESS
Penalty for Private Use


                                       WAL-MART STORES TEXAS,
                                                               LLC
                                       REGISTERED AGENT C T
                                                            CORPORATION SYSTE1‘)
                                       1999 BRYAN STREET SUITE900
                                       DALLAS, TX 75201



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                                                                                         EXHIBIT A
•          Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 3 of 10

    SERVICE FEE COLLECTED
      BY DISTRICT CLERK
                                                 THE STATE OF TEXAS

                                                        CITATION

    TO:    WAL-MART STORES TEXAS, LLC
           REGISTERED AGENT C T CORPORATION SYSTEM
           1999 BRYAN STREET SUITE 900
           DALLAS TX 75201

    NOTICE:

    You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
    clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty days after you were
    served this citation and PLAINTIFF'S ORIGINAL PETITION filed on JULY 20, 2021, a default judgment may be
    taken against you. In addition to filing a written answer with the clerk, you may be required to make initial
    disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after
    you file your answer with the clerk. Find out more at TexasLawHelp.org.

    The case is presently pending before the 458TH JUDICIAL DISTRICT COURT of Fort Bend County sitting in
    Richmond, Texas. It bears cause number 21-DCV-285327 and is styled:

    JANICE HAJEK VS WAL-MART STORES TEXAS, LLC

    The name and address of the attorney for PLAINTIFF is:

    JORGE LUIS GOMEZ
    GOMEZ LAW FIRM
    1612 WITTE ROAD
    HOUSTON TX 77080
    713-868-5528

    The nature of the demands of said PLAINTIFF is shown by a true and correct copy of the PLAINTIFF'S
    ORIGINAL PETITION accompanying this citation and made a part hereof.

    If this Citation is not served, it shall be returned unserved. Issued under my hand and seal of said Court, at
    Richmond, Texas, on this the 20th day of July, 2021.

                                                    DISTRICT CLERK BEVERLEY MCGREW WALKER
                                                    FORT BEND COUNTY,TEXAS
                                                    Physical Address:
                                                    1422 Eugene Heimann Circle, Room 31004 otownintri,„_
                                                    Richmond, Texas 77469                .
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                                                    Mailing Address:                                 *s. A..
                                                    301 Jackson Street, Room 101                         Nact S.
                                                    Rich o di Texas 7469
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                                                    By:       \N         Coll.\7        Vikk              I\ ..,it4I     -
                                                                                                                        $:
                                                       Deputy District Clerk Ashley Alaniz
                                                       Telephone:(281)633-7616
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                                                        SERVICE



                                                                                                           EXHIBIT A
          Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 4 of 10


21-DCV-285327                                                             458th Judicial District Court
Janice Hajek vs Wal-Mart Stores Texas, LLC

                                         CERTIFICATE OF DELIVERY BY CERTIFIED MAIL


Came to hand on the                                  at         o'clock and executed
                                on the                                    , by delivering to the within named
           by registered or certified mail, with delivery - restricted to addressee only, return receipt requested, a true copy of this
citation together with the accompanying copy of the petition were attached thereto.

Fee


CMRRR#


                                                               DISTRICT CLERK BEVERLEY MCGREW WALKER
                                                               FORT BEND COUNTY,TEXAS
                                                               Physical Address:
                                                               1422 Eugene Heimann Circle, Room 31004
                                                               Richmond, Texas 77469
                                                               Mailing Address:
                                                               301 Jackson Street, Room 101
                                                               Richmond, Texas 77469

                                                               By:
                                                               Deputy District Clerk Ashley Alaniz



COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF,CONSTABLE,OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The signature is
not required to be verified. If the return is signed by a person other than a sheriff, constable, or the clerk of the court, the return shall be signed
under penalty of perjury and contain the following statement:

"My name is                                                                                                         , my date of birth is
              (First, Middle, Last)

                                          , and my address is
                                                                               (Street, City, Zip)



I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in                                                     County, State of

on the                          day of


                                                                          Declarant / Authorized PrOtess Server


                                                                         (Id # & expiration of certification)




                                                                     SERVICE

Citation (By Certified Mail) issued to Wal-Mart Stores Texas, LLC on 7/20/2021.




                                                                                                                                     EXHIBIT A
   Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 5 of 10                                       Filed
                                                                                                 7/20/2021 9:31 AM



        ©ZPV                                      21-DCV-285327
                                                                                          Beverley McGrew Walker
                                                                                                       District Clerk
                                                                                           Fort Bend County, Texas
                                                                                          Vanessa Vasquez

                                     CAUSE NO.

JANICE HAJEK                                         IN THE DISTRICT COURT OF

                                             §
vs.                                                  FORT BEND COUNTY,TEXAS


                                                 Fort Bend County - 458th Judicial District Court
WAL-MART STORES TEXAS,LLC                                    JUDICIAL DISTRICT

                                PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         Now Comes Plaintiff JANICE HAJEK, hereinafter called "Plaintiff', complaining of

Defendant WAL-MART STORES TEXAS, LLC, hereinafter called "Defendant", and for cause

of action Plaintiff would respectfully show unto the Court the following:

                                             I.
                                  DISCOVERY CONTROL PLAN

         Discovery is intended to be conducted under Level 2.



                                              H.
                                           PARTIES

         Plaintiff is an individual residing in HARRIS County, Texas.

         Defendant WAL-MART STORES TEXAS, LLC is a Texas entity doing business in the

State of Texas and may be served with process by the clerk of the court by certified mail, return

receipt requested by serving its registered agent: C T Corporation System, 1999 Bryan Street,

Suite 900, Dallas, Texas 75201.




Plaintiff's Original Petition                                                          Page 1 of6




                                                                                         EXHIBIT A
   Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 6 of 10




                                           HI.
                                   MISNOMER/ALTER EGO

         In the event any parties are misnamed or are not included herein, it is Plaintiff's

contention that such was a "misidentification", "misnomer" and/or such parties are/were "alter

egos" of parties named herein. Alternatively, Plaintiff contends that such "corporate veils"

should be pierced to hold such parties properly included in the interest ofjustice.



                                               IV.
                                             VENUE

         Venue of this lawsuit is proper in Fulshear, Fort Bend County, Texas pursuant to TEX.

CIV. PRAC. & REM. CODE § 15.002 (a)(1) et. al. in that all or a substantial part of the events

or omissions giving rise to this cause of action occurred in Fort Bend County, Texas.



                                            V.
                                NOTICE PURSUANT TO TRCP 47

         Plaintiff hereby gives notice to all parties that Plaintiff seeks monetary relief over

$250,000.00 but not more than $1,000,000.



                                               VI.
                                             FACTS

         On or about September 11, 2019, during normal business hours, Plaintiff entered the

Defendant's business premises, located at 26824 FM 1093, Richmond, Texas 77406. Defendant

extended an open invitation to the public, including Plaintiff to enter the premises and purchase

goods and services being sold by the Defendant. Plaintiff entered the premises for the purpose


Plaintiff's Original Petition                                                           Page 2 of6




                                                                                          EXHIBIT A
   Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 7 of 10




of purchasing goods at said Defendant's facility. Accordingly, Plaintiff was a business invitee

to whom Defendant owed the duty to use ordinary care in making its premises reasonably safe

and/or warning the Plaintiff of any dangerous conditions and/or activities existing upon said

premises. On the occasion in question, the Plaintiff tripped and fell on a ruffled/wrinkled carpet

mat located on the premises of the Defendant which proximately caused the injuries and

damages more specifically described herein.



                                               VII.
                                           NEGLIGENCE

         On the occasion in question, the Defendant acting through its agents, servants, and/or

employees who were at all times acting within the course and scope of their employment

committed acts and/or omissions that constituted negligence which proximately caused the

incident in question; to wit:

         1.       In failing to maintain the premises in question in a reasonably safe condition and
                  free of hazards to Plaintiff and other invitees entering the premises;

         2.       In failing to correct the unreasonably dangerous condition which was created by
                  the ruffled/wrinkled carpet on the premises in question;

         3.       In failing to warn invitees, including the Plaintiff of the dangerous condition of
                  the premises in question;

         4.       In failing to properly inspect the premises in question to discover the
                  unreasonably dangerous condition created by the ruffled/wrinkled carpet in
                  question;

         5.       In failing to properly train its agents, servants, and/or employees regarding the
                  proper way to make the premises reasonably safe;

         6.       In failing to implement proper policies, rules, and/or procedures to make its
                  premises reasonably safe; and


Plaintiffs Original Petition                                                             Page 3 of6




                                                                                            EXHIBIT A
   Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 8 of 10




         7.       In failing to enforce proper policies, rules, and/or procedures to make its premises
                  reasonably safe.

         Each and all the above and foregoing acts, both of omission and commission, singularly

or in combination with others, constituted negligence which proximately caused the occurrence

made the basis of this suit, and the Plaintiff's injuries and damages pled herein.



                                                 VIII.
                                               DAMAGES

         As a proximate cause of the Defendant's negligence the Plaintiff has sustained the

following damages:

        (1)       Medical, hospital, and pharmaceutical charges and expenses in the past;

        (2)       Medical, hospital, and pharmaceutical charges and expenses that, in reasonable
                  medical probability, will be incurred in the future;

        (3)       Lost wages in the past;

        (4)       Loss of wage-earning capacity that, in reasonable probability, will be incurred in
                  the future;

        (5)       Pain and suffering in the past;

        (6)       Pain and suffering that, in reasonable probability, will be suffered in the future;

        (7)       Mental anguish suffered in the past;

        (8)       Mental anguish that, in reasonable probability, will be suffered in the future;

        (9)       Disability and impairment in the past;

        (10)      Disability and impairment that, in reasonable probability, will occur in the future;

        (11)      Disfigurement in the past;

        (12)      Disfigurement that, in reasonable probability, will occur in the future;


Plaintiff's Original Petition                                                                Page 4 of6




                                                                                                EXHIBIT A
   Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 9 of 10




         (13)      Loss of household services in the past; and

        (14)       Loss of household services that, in reasonable probability, will occur in the future.

         Based on the above enumerated injuries and damages which were caused by the negligent

acts and/or omissions of the Defendant, the Plaintiff pleads for actual damages in an amount that

the jury deems reasonable under the circumstances which exceed the minimum jurisdictional

limits of the Court.

                                            IX.
                                NOTICE PURSUANT TO TRCP 193.7

         Plaintiff hereby gives notice to all parties that Plaintiff intends to use any and all

documents that are produced by a party against that party in pretrial proceedings or at trial

pursuant to TRCP 193.7.



                                              X.
                                    PRE-EXISTING CONDITION

         In the alternative, Plaintiff would show that if any injury and/or condition from which she

currently suffers was pre-existing, then such condition was aggravated, exacerbated, and/or made

worse by the negligence of the Defendant herein.



                                             XI.
                                    SUBSEQUENT CONDITION

         In the alternative, Plaintiff would show that if she suffers from any subsequent injury

and/or condition, then such injury and or condition was aggravated and/or exacerbated by the

negligence of the Defendant herein.



Plaintiff's Original Petition                                                                Page 5 of6




                                                                                               EXHIBIT A
  Case 4:21-cv-02775 Document 1-2 Filed on 08/24/21 in TXSD Page 10 of 10




                                               XII.
                                        U.S. LIFE TABLES

         Plaintiff hereby notifies the Defendant of her intent to use U.S. Life Tables as published

by the U.S. Government in the trial of this matter.

                                              XIII.
                                          JURY DEMAND

         Plaintiff hereby demands a trial by jury.



         WHEREFORE,PREMISES CONSIDERED, the Plaintiff requests that the Defendant be

cited to appear and answer herein, and that upon a final hearing hereof, the Plaintiff have

judgment against the Defendant for actual damages in an amount the jury deems reasonable

under the circumstances which is in excess of the minimum jurisdictional limits of the Court

together with pre-judgment interest, post-judgment interest, costs of court, and for such other and

further relief to which the Plaintiff may be justly entitled.

                                                                Respectfully submitted,

                                                                GOMEZ LAW FIRM
                                                                 1613 Witte Road
                                                                Houston, Texas 77080
                                                                Telephone: (713) 868-5528
                                                                Facsimile:    (713) 868-4159
                                                                j1g(,gomezlawfirm.corn


                                                                   /s/ Jorge L. Gomez
                                                                JORGE L. GOMEZ
                                                                STATE BAR NO. 00793825

                                                                ATTORNEY FOR PLAINTIFF




Plaintiffs Original Petition                                                              Page 6 of6




                                                                                            EXHIBIT A
